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prior to trial. In exchange, the Defendant agreed, in part, not to file any motions seeking
discovery under Rule 16, Brady or Jencks, and that any such motions would constitute a
violation of the discovery agreement. The government has complied with all of its discovery
obligations under Rule 16, Brady, Giglio, and the discovery agreement.' In light of the
agreement signed by counsel, the Defendant has implicitly withdrawn the previously filed
discovery request. Regardless, the Defendant has not made any particularized showings of any
discovery dispute between the parties for the Court to review.

Respectfully submitted,

/s/ Sean R. Delaney
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Date: February 5, 2018

' The Government has given the Defendant electronic copies of the vast majority of the evidence in this case, and
has made all of the seized evidence available to the Defendant to review at our offices. We have also invited
counsel to our office to review the Government’s expected trial exhibits.

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